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                                                                          U.S. Department of Justice
                                                                                     Civil Division



                                                                             Washington, DC 20530




May 24, 2021




Natalia Sorgente
Baker Botts L.L.P.
700 K Street NW
Washington, DC 20001
natalia.sorgente@bakerbotts.com

VIA EMAIL

       Re:     Final Demand for Payment by Summit Power Group, LLC to the U.S.
               Department of Energy under its 2012 Payment Agreements

 Dear Ms. Sorgente:

         I am writing on behalf of the U.S. Department of Energy (Energy) to send a final
 demand for payment to your client, Summit Power Group, LLC (SPG) in advance of our
 meeting tomorrow. Energy demands that SPG pay $7.8 million within 30 days or reach
 agreement with Energy on an acceptable payment schedule in accord with SPG’s payment
 obligations under the 2012 guaranty agreements between Energy and SPG (Payment
 Agreements).

         The Payment Agreements require SPG to pay $7.8 million to Energy if the federal
 award recipient, Summit Texas Clean Energy, LLC (Summit), failed to achieve the technical
 objectives for the first phase of a clean coal project and failed to repay a portion of that
 project to Energy. As you know, Summit failed to achieve these objectives by the extended
 deadline of July 14, 2016, failed to repay its portion of the project, and lost its administrative
 appeal to the agency on December 20, 2016.

         The $7.8 million is now long past due. Based on our analysis of SPG’s ability to pay
 as of April 2021, the Department is willing to settle this debt for $2 million. Your client,
 however, has not responded to this recent proposal. Therefore, please be aware that SPG will
 be liable for the $7.8 million plus any interest owed under 31 U.S.C. § 3717, 31 C.F.R.
 § 901.2, and all applicable law, if SPG chooses not to pay within 30 days (i.e., June 23, 2021)
 or the parties do not reach an alternative arrangement on the amount and timing of payment.



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      We look forward to discussing this matter with you and your client on Tuesday,
May 25th.

                                           Sincerely,

                                           s/John R. Kresse

                                           John R. Kresse


cc:    Tiffiney F. Carney, Trial Attorney, U.S. Department of Justice
       (tiffiney.carney@usdoj.gov)
       Michael J. Quinn, Senior Litigation Counsel, U.S. Department of Justice
       (michael.quinn3@usdoj.gov)
       Bettina Mumme, Trial Attorney, U.S. Department of Energy
       (bettina.mumme@hq.doe.gov)

       (all by email)




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